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                         Exhibit A
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                                                                                                         US010174870B2

(12) United States Patent                                                        ( 10) Patent No.: US 10 ,174 ,870 B2
        Berardi                                                                  (45) Date of Patent:     * Jan . 8, 2019
(54 ) EXPANDABLE AND CONTRACTIBLE                                           (56 )                        References Cited
        GARDEN HOSE
                                                                                                 U .S . PATENT DOCUMENTS
(71) Applicant: Blue Gentian , LLC , Palm Beach                                       25 ,239 A               8/ 1859 Boyd
                    Gardens, FL (US)                                                 D31 ,614 S               3 / 1861 Mayall
(72 ) Inventor: Michael J . Berardi, Palm Beach                                                                   (Continued )
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(73) Assignee: Telebrands Corp ., Fairfield, NJ (US)                        CA                       2779882              8 / 2012
                                                                            CN                       1266155              9 / 2000
( * ) Notice : Subject to any disclaimer , the term of this                                                       (Continued )
                    patent is extended or adjusted under 35
                     U .S . C . 154 (b ) by 0 days.                                         OTHER PUBLICATIONS
                     This patent is subject to a terminal dis               Anonymous, Slastix Loops korkotel — R -med webaruhaz, YouTube
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                                                                            Internet video product demonstration , URL : https://www . youtube.
(21) Appl. No.: 15/794,662                                                  com /watch ? v = aT4kbfJANRO, (retrieved Nov. 25 , 2013 ).
                                                                                                                  (Continued )
(22) Filed : Oct. 26 , 2017
                                                                            Primary Examiner — Patrick F Brinson
(65 )                 Prior Publication Data                                (74 ) Attorney , Agent, or Firm — McHale & Slavin , P.A .
      US 2018 /0045340 A1 Feb . 15 , 2018                                   (57)                    ABSTRACT
             Related U . S . Application Data                               A hose which automatically expands longitudinally and
(60 ) Continuation - in -part of application No. 15 /440 ,841 ,             automatically expands laterally upon the application of a
        filed on Feb . 23 , 2017 , now Pat. No . 9 ,841, 127 , which        pressurized liquid is disclosed . The hose can automatically
                                                                            expand longitudinally up to six times its unexpanded or
                           (Continued )                                     contracted length . Upon release of the pressurized liquid
(51) Int . CI.                                                              within the hose , the hose will automatically contract to a
        F16L 11/ 12               ( 2006 .01)                               contracted condition . The hose includes an inner tube made
        F16L 11/04                ( 2006 .01)                               from an elastic material and an outer tube made from a
                                                                            non - elastic material. The inner tube is positioned concentri
                           ( Continued )                                    cally within the outer tube in both a contracted condition and
(52 ) U . S . CI.                                                           an expanded condition . The outer tube is secured to the inner
      CPC .. ......... . F16L 11/04 (2013 .01) ; F16L 11 /00                tube only at a first end of the inner and outer tubes and at a
              (2013.01); F16L 11/ 12 ( 2013.01); F16L 33/ 01                second end of the inner and outer tubes . The outer tube
                                                  ( 2013 .01)               moves laterally and longitudinally with respect to the inner
(58 ) Field of Classification Search                                        tube when the tubes are transitioning between a contracted
      CPC ...... F16L 11 / 111; F16L 11/ 118 ; F16L 11 / 112 ;              condition and an expanded condition .
                                                        F16L 11/115
                           ( Continued )                                                         20 Claims, 3 Drawing Sheets


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Exhibit A 941 McDonald , Telebrand Contentions, Civil Action No .                Exhibit B , Tristar Contentions, Civil Action No. 2 : 13 -CV -07099
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Telebrands Corp .'s Invalidity Contentions Pursuant to local patent              Products, Inc.'s invalidity contentions pursuant to local patent rule
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Telebrands Corp .' s Invalidity Contentions Pursuant to local patent             Products, Inc.'s invalidity contentions pursuant to local patent rule
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Exhibit C 942 McDonald , Telebrand Contentions, Civil Action No .                Exhibit D , Tristar Contentions, Civil Action No. 2 : 13 -CV -07099
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Telebrands Corp .’ s Invalidity Contentions Pursuant to local patent             Products, Inc.'s invalidity contentions pursuant to local patent rule
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Exhibit D 942 Many, Telebrand Contentions, Civil Action No.
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Telebrands Corp .' s Invalidity Contentions Pursuant to local patent             FSH - JBC , U .S . District Court, District of New Jersey, Tristar
rule 3 . 3 , (Jan . 20 , 2014 ) .                                                Products, Inc .'s invalidity contentions pursuant to local patent rule
Exhibit E 776 McDonald , Telebrand Contentions, Civil Action No .                3 . 3 , (Jan . 20 , 2014 ) .
12 -06671-FSH -JBC , U . S . District Court , District of New Jersey,            Exhibit F , Tristar Contentions , Civil Action No. 2 :13 - CV -07099
 Telebrands Corp .’ s Invalidity Contentions Pursuant to local patent            FSH - JBC , U . S . District Court, District of New Jersey , Tristar
rule 3 .3 , ( Jan . 20 , 2014 )                                                  Products, Inc.'s invalidity contentions pursuant to local patent rule
Exhibit F 776 Many , Telebrand Contentions , Civil Action No.                    3 . 3 , ( Jan . 20 , 2014 ).
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Telebrands Corp .'s Invalidity Contentions Pursuant to local patent              FSH -JBC , U .S . District Court , District of New Jersey, Tristar
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        FIG                                           FIG
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                                    FIG . 5




                                    FIG . 6




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                                            FIG . 7
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                                            FIG . 8
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                                                        US 10 , 174 ,870 B2
        EXPANDABLE AND CONTRACTIBLE                                       Firefighters have a solution to the kinking problem . The
                       GARDEN HOSE                                      hoses that they use collapse into a relatively flat state when
                                                                        the liquids are removed from the hoses. The hoses are then
                         PRIORITY                                       stored in layers which are formed by the hose being laid
                                                                   5 back and forth upon itself. When the firefighters use the
   In accordance with 37 C .F . R . 1 .76 , a claim of priority is   hoses stored like this , they only have to pull at one end of
including in an Application Data Sheet filed concurrently the hose and it unfolds in a straight line without kinking.
herewith . Accordingly, the present invention claims priority         This is not a practical solution to a homeowner ' s problem of
as a continuation of U .S . patent application Ser. No. 15 /440 , hose storage because gardens hoses are relatively small in
841 entitled “ Garden Hose Device and Method” filed Feb . 10 diameter, compared to fire hoses, and almost all garden
23 , 2017 which claims priority as a divisional of U . S . patent hoses do not collapse into a flat condition when the water is
                                                                  emptied from the hose .
application Ser. No. 15 /055 ,095 entitled “ Commercial              Another problem with hoses known in the art is that they
Hose ” filed Feb . 26 , 2016 and issued on Feb . 28, 2017 as            are heavy bulky and difficult to unravel when lying on the
U .S . Pat. No. 9,581,272 which claims priority as a continu 15 ground and also difficult to handle and drag around to the
ation of U .S . patent application Ser. No. 14 /301,825 entitled place where the liquid is needed both when they are filled
“ Commercial Hose” filed Jun . 11, 2014 and issued on Mar. with a liquid and equally as difficult to handle and drag
 8 , 2016 as U .S . Pat. No. 9 ,279, 525 , which is a continuation around when they are empty and needing to be returned to
of U . S . patent application Ser. No . 13 /859,511 , entitled       there original place of storage . Also , if the user does not have
“ Commercial Hose ” , filed Apr. 9 , 2013 , and issued Jun . 24 , 20 a device for winding the hose then he must try to place the
2014 as U .S . Pat. No . 8 , 757 ,213 , which is a continuation      hose on the ground in a way as to not entangle the hose
in - part of U .S . patent application Ser . No. 13/690 ,670 ,          within itself because if the hose does become entangled
entitled “ Expandable Garden Hose” , filed Nov. 30 , 2012,              within itself this makes it difficult and frustrating to unravel
and issued on Jul. 9 , 2013 at U . S . Pat. No. 8, 479 , 776 , which    the hose the next time the hose is used .
is a continuation -in - part of U .S . patent application Ser. No. 25      Therefore , what is needed in the art is a hose that can be
13 /654,832 , entitled “ Expandable Hose Assembly Coupling              expanded and extended to a practical length during use, and
Member ” , filed Oct. 18 , 2012 , and now abandoned , which is          automatically returned to the reduced length when not in
a continuation -in - part of U . S . patent application Ser. No .       use . Also , a hose which is relatively light in weight and will
13 /488 ,515 , entitled “ Expandable Hose Assembly ” , filed            not kink when taken from storage and filled with liquid for
Jun . 5 , 2012 , and issued Oct. 23, 2012 as U . S . Pat. No . 30 use .
8 ,291, 942 , which is a continuation - in -part of U . S . patent
application Ser. No . 13 /289,447 , entitled “ Expandable and                      DESCRIPTION OF THE PRIOR ART
Contractible Hose ” , filed Nov . 4 , 2011, and issued Oct. 23 ,
2012 as U .S . Pat. No . 8 ,291 , 941; the contents of the above R . H . Vansickle et al., U . S . Pat. No . 3 ,481, 368 discloses
referenced patents are incorporated herein by reference . 35 a flexible hose comprising an elastomer liner tube sur
                                                                     rounded by a plurality of layers of metallic wire reinforce
                FIELD OF THE INVENTION                               ment and an external cover, the inner reinforcing 15 layer
                                                                     comprising a single thickness of helically wound wires
   The present invention relates to a hose for carrying liquid interlaced by textile yarns with the wires lying in a smooth
materials . In particular, a hose that automatically contracts to 40 cylindrical configuration and all interlacing crimp being in
a contracted state when there is no pressurized liquid within           the textile yarns. One or more additional reinforcing layers
the hose and expands to an extended state when a pressur-               of wire are wound helically without 20 interlacing textile
ized liquid is introduced into the hose . In the contracted state       yarns and with an insulating layer of elastomer between each
the hose is relatively easy to store and easy to handle                 layer of reinforcement. A layer of braided wire may be
because of its relative short length and its relative light 45 provided over the other reinforcing layers and beneath the
weight and in the extended state the hose can be located to             cover.
where ever the liquid is required . The hose is comprised of               J. C . Hamrick , U .S . Pat. No . 3 ,520 , 725 discloses a
an elastic inner tube and a separate and distinct non - elastic         vacuum cleaning system in which a pliable but flexurally
outer tube positioned around the circumference of the inner             rigid vacuum hose normally stored within a suction conduit
tube and attached and connected to the inner tube only at 50 has little or no stretchability when the hose is being moved
both ends and is separated , unattached unbonded and uncon -            to extended or retracted stored condition in the conduit to
nected from the inner tube along the entire length of the hose          facilitate movement of the hose through bends in the con
between the first end and the second end .                              duit, and wherein a piston on the hose 20 is deformable so
                                                                 as to be moved past an abutment carried by an outlet
          BACKGROUND OF THE INVENTION                         55 receptacle on the outer end of the conduit, and wherein
                                                                 interengagement between the piston and the abutment oth
   Hoses which are used to carry various liquids are known erwise limits extension or retraction of the hose , as the case
in the art. One of the problems encountered with these hoses     may be, relative to the conduit .
is storage of the hose when it is not being used to transport       Buhrmann et al., U . S . Pat . No. 3,682 , 202 discloses an
the liquids. While current hoses are flexible and can be 60 improved collapse - resistant, reinforced hose of flexible
wrapped around a cylinder or drum for storage and transport, polymeric material including a semi-rigid generally circum
the length and width of the hose cannot be reduced . Another ferentially disposed supporting structure which includes
problem encountered with wrapped or coiled hoses is that preferably a single layer of textile fabric reinforcement, the
they tend to kink when unwrapped or uncoiled . This prob - major portion of which is composed of treated polyester or
lem is usually encountered by the average homeowner when 65 nylon fibers. The polyester or nylon fibers are treated with an
using a garden hose to water their grass , plants, or wash their        organic polyisocyanate and preferably a solution of at least
vehicles .                                                              2 percent organic polyisocyanate in a non -reactive solvent.
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                                                         US 10 , 174 ,870 B2
The hose has substantially improved bursting strength and                  system that is typically found on recreational vehicles and
resistance to vacuum collapse without the need of additional               includes power or crank - driven hose extender means for
support, such as a metal wire insert. The invention is                     extending the collapsible hose from its collapsed mode
particularly useful for flexible radiator hoses used in auto -             stored on -board the recreational vehicle , to its extended
motive vehicle cooling systems.                                            configuration which it is used for dumping waste from an
   Sullivan , U .S . Pat. No . 4 ,009, 734 discloses a flexible           RV holding tank into an inlet of an RV waste dump station .
self- retracting coiled tubing having desirable recoil strength             Whaley , U .S . Pat. No. 5, 036 ,890 discloses a device which
and elastic memory is described . The coiled tubing is                    may be inserted into the hydrant end of a conventional
adaptable especially as a self-retracting air tube for trans18            garden or water hose for the purpose of reinforcing that
mitting fluids under pressure to pneumatic equipment . The 10 portion of the hose which is apt to be kinked or broken due
coiled tubing comprises an extruded seamless plastic tube to short bending of the hose at the hydrant end by tension
prepared by extruding a mixture comprising a chemically            imposed on the hose during use . The reinforcement device
extended polyester and from about 10 % to about 50 % of a          comprises a length of coiled resilient material having a
polybutylene terephthalate polymer.                                resilient gasket mounted on one end thereof which may be
   Logan , U . S . Pat. No . 4 ,091,063 discloses a molded hose 15 inserted or removed from a hose at will.
construction and method of making same is provided                            LoJacono , Jr. et al., U .S . Pat. No. 5 ,246 ,254 discloses an
wherein such hose construction has axially spaced convo -                  anti-kinking device used in conjunction with a garden vari
lutions and a controlled flexibility defined by alternating                ety water hose , wherein the device includes a housing
crests and troughs, and the hose construction has an elasto - defined by a tubular body having a coupling member rotat
meric inner layer, an elastomeric outer layer, and an inter - 20 ably mounted to the tubular body so as to be connected to a
mediate reinforcing layer made of a fabric material having water faucet, wherein the opposite end of the tubular body
a substantial open space between cooperating threads defin -               is threaded so as to connect to a garden - type hose , and
ing the fabric material, and the layers are bonded as a unitary            further includes an elongated flexible nylon cable that is
structure by strike -through columns of elastomeric material               fixedly secured to a boss member formed in the internal wall
extending through said substantial space with the alternating 25 of the tubular body, whereby the cable is formed with a
crests and troughs having a controlled wall thickness            length so as to be readily positioned within the full length of
throughout which assures the controlled flexibility , and the              the hose .
crests and troughs having been formed with the elastomeric                   Igarashi U . S . Pat. No. 5 ,264,262 discloses a refrigerant
layers in a semi-cured condition to assure said controlled                 transporting hose having a laminar structure including an
wall thickness thereof.                                                 30 inner tube consisting of at least one layer , an outer tube
  Home, U . S . Pat. No . 4 ,276 , 908 discloses a thermoplastic           disposed radially outwardly of and coaxially with the inner
hose is disclosed in which a reinforcement layer is made                   tube, and a reinforcing fiber layer interposed between the
from a combination of yarns and monofilaments to provide                   inner and outer tubes . The inner tube includes a resin layer
stereo interstices where mechanical bonds between the rein -               formed of a resin composition .
forcement and its adjacent element of the hose can be 35 Mezzalira , U .S . Pat. No. 5 ,477 ,888 discloses a hose ( 10 )
established                                                                which comprises at least one tubular layer ( 3 ) of plastic or
   Piccoli et al., U .S . Pat. No . 4 , 553 ,568 discloses a flexible      rubber material, a mesh -network ( 4 ) of the chain type
hose adapted to regain its original shape after crushing due               presentingmesh lines (5 ) and mesh rows (6 ) having a tubular
to a novel braided -spiral reinforcement layer containing one              shape being wound on the external surface of said inner
braid member which is a relatively stiff , uncrimped mono - 40 layer, a possible external layer ( 7 ) , and is characterized in
filament and a second braid member which is a flexible                     that said mesh rows are slanted in relation to the longitudinal
textile material crimped around the stiff monofilament at                  axis of the hose . According to a preferred embodiment the
each contact point in the braided spiral layer. The braided                lines (5 ) of said meshes are slanted in relation to the
spiral imparts improved crush and kink resistance to the                   longitudinal axis Y of the hose , following a direction oppo
hose structure . This hose is particularly useful as a gasoline 45 site to the direction of the mesh rows (6 ) .
pump dispensing hose which is subject to frequent crushing                   Kanao , U .S . Pat. No . 5 ,555 ,915 discloses a cleaner hose
by vehicle wheels during service .                                         includes a hose body , connection cylinders to be connected
   Champleboux , U . S . Pat. No. 4 ,895 , 185 discloses a device          to a cleaner operating pipe and a cleaner body , respectively ,
with flexible hose , particularly for an expandable packer,                which are connected to ends of the hose body, respectively ,
wherein hose is reinforced by armature layers made of 50 and a reinforcement wire material wound in the hose body
flexible cables disposed helically and is attached at least at spirally and continuously over the whole length of hose
one end by compression of said layers against rigid pieces ,              body. The reinforcement wire material is shaped like a
characterized by the supporting elements and gripping ele -                steeply slanted spiral in a predetermined length portion near
ments, which are coaxial, having non -adhesive conical com -               one of or both of the ends of the hose body so that adjacent
pression surfaces which diverge toward the end and by at 55 spiral portions of the reinforcement wire material are close
least one wedge provided with slits being driven between    to each other while a hose wall of the hose body is loosened
reinforcing layers to ensure compression .                  toward the inner circumferential surface . On the other hand ,
  Walton et al., U .S . Pat. No. 4 , 989 ,643 discloses a high             the reinforcement wire material is shaped like a gently
performance composite hose having enhanced durability,                     slanted spiral in an intermediate portion except the one of or
reliability and longevity for use in high pressure , high 60 both of the ends of the hose body so that adjacent spiral
temperature and /or vibrational environments such as turbo - portions of the reinforcement wire material are separated
charged truck , bus, automobile , marine and generating                    from each other in the direction of a pipe axis .
engines . The composite hose comprises one or more plies of                  Grieve et al., U .S . Pat. No . 5 ,607, 107 discloses a retract
balanced fabric having a high performance elastomer             able conduit formed from a sheet ofmemory -set polyester.
adhered to the inner and outer surfaces of each fabric ply . 65 To manufacture the memory -set strip , the polyester sheet is
  Mercer , U . S . Pat . No. 5 ,023 , 959 discloses a system for           wound into a desired coiled position . It is then heated and
extending and retracting the waste hose for a waste disposal               cooled in a manner to memory -set the sheet in a coiled form .
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                                                    US 10 , 174, 870 B2
After this process the sheet of polyester will automatically        hose and at an upper end to a flexible tube assembly
return to the coiled condition after it has been uncoiled. In       connected at an opposite end to a spray nozzle . The pistol
one form , suitable as a splash block , the distal end of the       grip housing includes a water flow control valve such as a
polyester sheet is wider than the end attachable to a down-         trigger mechanism operatively connected to a water valve
spout. In another form the polyester sheet is sheathed in an 5 for controlling the flow of water from the nozzle of the
elongated polyethylene tube , to form a retractable hose . In a     wand .
preferred form , the distal end of the hose is supported on a          Ragner et al., U .S . Pat. No. 6 ,948,527 discloses a linearly
spool which will roll along the ground as the hose is wound         self- actuated hose for use in transporting fluids (liquids,
and unwound to further ensure that the hose retracts prop           gases, solid particles, and combinations of these three ).
erly . The tube can also be provided with holes to act as a 10 Hoses (30 ) and (30b) have a biasing spring ( 36 ) extends
sprinkler if desired .                                         along the full length , and can comprise single or multiple
   Carter, U .S . Pat. No. 5 ,816 ,622 discloses a protective springs and/or multiple diameter spring coils. Spring ( 36 ) is
sleeve for a garden hose includes a protective shell section        covered with hose cover material (32 ) on the outside and
having a generally tubular body with an inner bore shaped           hose cover material ( 34 ) on the inside to form a sealed hose
for receiving a coupling of the garden hose snugly therein . 15 and are bowed inward or outward radially between the
A flexible strain relief section is releasably attached to the      individual spring coils depending on the intended use of
shell section wherein the flexible strain relief section has a      hose (30 ) or (30b ), respectfully to give the cover materials
generally tubular body. A locking member of the strain relief       room to move out of the way when the hose retracts and the
section releasably attaches the strain relief section to the        coils of spring ( 36 ) are forced close together.
shell section. The locking member is receivable within an 20 Weyker, U .S . Pat. No. 6 ,955 ,189 discloses a garden hose
opening formed in the body of the shell section . The locking
                                                            assembly includes an elongated and flexible tubular member
member is resiliently movable from a relaxed condition in that includes an open first end , an open second end and a
which it extends through the opening and engages the body           peripheral wall extending between the first and second open
of the shell section for preventing axial movement of the           ends . A cross -section taken traversely to a longitudinal axis
strain relief section away from the shell section , to an 25 of the tubular member has a generally oblong shape when
inwardly flexed position in which the locking member flexes         the tubular member is filled with a fluid and a substantially
inwardly out of the opening and disengages the body of the          flattened shape when the tubular member is not filled with a
shell section for allowing relative axial movement between          fluid . The tubular member has an outer surface colored a
the shell and strain relief sections. The strain relief section     fluorescent color. A threaded female coupler is fluidly
has an outer surface that defines a gripping surface for 30 coupled to the first end and a threaded male coupler is fluidly
facilitating the attachment of the garden hose with another         coupled to the second end.
garden hose .                                                         Ragner, U .S . Pat. No. 7 ,549,448 discloses a linearly
  Horst et al., U .S . Pat. No . 5 ,894 ,866 discloses a garden     self- actuated hose for use in transporting fluids (liquids ,
hose assembly is provided and comprises holding means gases, solid particles, and combinations of these three ).Hose
comprising at least a portion of such hose assembly with the 35 (30 ) has a biasing spring ( 36 ) that extends along its full
holding means and portion being adapted to be coiled length , and can comprise single or multiple springs and/or
around an associated support for holding the portion at a           multiple diameter spring coils . Spring (36 ) is covered with
desired position to enable use of the hose assembly in a            hose cover material ( 32 ) on the outside and hose cover
hands- free manner.                                               material ( 34 ) on the inside to form a sealed hose and are
  Fujimoto , U . S . Pat. No. 6 ,024 ,132 discloses a flexible 40 bowed inward or outward radially between the individual
hose comprises a bellows hose wall 1 composed of an inner spring coils depending on the intended use of hose ( 30 ) to
wall 2 and an outer wall 3 each made of a soft resin and a       give the cover materials room to move out of the way when
spiralhard reinforcement 4 interposed there between . As the the hose retracts and the coils of spring (36 ) are forced close
hose contracts, a spiral groove 7 is formed inside of the hose . together.
 The inner wall 2 is not partially bonded or fused with the 45 Ragner et al., U . S . Pat . No . 8 , 776 ,836 discloses a hose
outer wall 3 and the hard spiral reinforcement 4 to form         (70 ) having a biasing spring ( 76 ) along the full length .
unbonded sites or fragments 8 . As the hose contracts, the          Spring (76 ) is covered with the hose cover material (72 ) on
unbonded fragments 8 are separated from the outer wall 3           the outside and hose support layer ( 74) and hose sealing
and the spiral hard enforcement 4 and move to the inward layer (72 ) on the inside to form a sealed hose . The invention
direction of the hose , and close the spiral groove 7 . There - 50 comprises the improvement of the hose body (layers (72) ,
fore , even a fluid flows to any longitudinal direction , the      (74 ), and ( 75 )) by defining the layers as bowed inwardly
flexible hose reduces a flow resistance .                          radially between the individual spring coils to create a
   Akedo et al., U .S . Pat. No. 6 ,024 , 134 discloses a lami- helical indentation (74b ) around hose (70 ). This helical
nated tape comprising a main layer of a polyester -series indentation (74b ) causes the hose body materials ( layers
thermoplastic polyurethane resin and a covering layer 55 (72 ), (74), and (75)) move inward radially when hose (70 ) is
formed of a soft vinyl chloride resin fused with at least one       retracted and the coils of spring (76 ) are forced close
surface of themain layer is spirally wound , and its adjacent       together longitudinally. Thus, layers ( 72 ), (74 ), and (75 ) are
side edges are bonded each other to form a hose wall.             folded substantially with spring (76 ) when retracted , greatly
   Wells et al., U . S . Pat. No . 6 ,098 ,666 discloses a tubing reducing the volume of the hose (70 ) in its retracted position
assembly for conveying fluid under pressure such as from a 60 and substantially protecting (72 ), (74 ) and (75 ) from damage
source of air pressure in a vehicle to an airbrake system of        by abrasion and puncture .
the vehicle . The assembly includes a flexible first and second
tubing member, each having an outer surface and extending                        SUMMARY OF THE INVENTION
axially from a forward distal end to a rearward distal end .
   Ericksen , U . S . Pat. No. 6 ,568,610 discloses a flexible 65      A hose which automatically expands longitudinally and
water spray wand for connection to a standard garden hose ,         automatically expands laterally upon the application of a
having a housing connectable at a lower end to the garden           pressurized liquid within the hose is disclosed . The hose can
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                                                    US 10 , 174 , 870 B2
expand longitudinally up to six times its unexpanded or                     DETAILED DESCRIPTION OF THE
contracted length and can expand laterally up to six times its                          INVENTION
unexpanded width . Upon release of the pressurized liquid
within the hose, the hose will automatically contract to a          While the present invention is susceptible of embodiment
contracted condition . The hose includes an expandable inner 5 in various forms, there is shown in the drawings and will
tube made from an elastic material and a separate, distinct hereinafter be described a presently preferred , albeit not
outer tube made from a non -elastic material, positioned         limiting, embodiment with the understanding that the pres
around the outer circumference and length of the inner tube ent disclosure is to be considered an exemplification of the
and secured to the inner tube only at the first and second end . present invention and is not intended to limit the invention
 The outer tube is unattached , unconnected , unbonded , and to the specific embodiments illustrated .
unsecured to the inner tube along the entire length of the            FIGS. 1 - 8 , which are now referenced , illustrate the pres
inner tube , between the first end and the second end , so that ent invention and the manner in which it is assembled . FIGS.
the outer tube can move freely with respect to the inner tube      1 and 3 illustrate a preferred embodiment of the expandable
along the entire length of the inner tube between the first end 15 and contractible hose of the present invention . The hose is
and the second end .                                               self- expanding upon application of a pressurized liquid and
   Accordingly , it is an objective of the present invention to increased fluid volume within the hose. The hose is also
provide a hose that expands longitudinally and expands self-contracting upon release of the pressurized liquid and
laterally upon the application of a pressurized liquid within fluid volume from within the hose. The hose 10 is composed
the hose .                                                      20 of two separate and distinct tubes 12 and 14 . The inner tube
   It is a further objective of the present invention to provide 14 is formed from a material that is elastic with an elonga
a hose that automatically contracts upon release of a pres -         tion ratio of up to 6 to 1 and can expand up to 4 to 6 times
surized liquid within the hose . The contracted length being         its relaxed or unexpanded length when a pressurized liquid
up to six times shorter that an expanded length .              is introduced into the elastic inner tube 14 . A preferred
   It is yet another objective of the present invention to 25 material for the inner tube 14 is natural latex rubber .
provide a hose that is relatively light compared to a non - However, other synthetic materials , which have elastic prop
expanding /non -contracting hose .                            erties similar to natural latex rubber, specifically, the ability
  It is a still further objective of the present invention to        to automatically retract from a stretched or expanded state ,
provide a hose that will not kink or become entangled upon can also be used. Upon application of pressurized liquid into
itself when in use .                                          30 the inner tube, the elastic inner tube 14 expands radially
   It is a still further objective of the present invention to outwardly or laterally, with respect to its length , within the
provide a hose including indicia, such as words, on an outer outer tube. The radial expansion of the inner tube 14 is
tube or sleeve .                                               constrained by the maximum diameter of the non - elastic
   It is a still further objective of the present invention to outer tube 12 . The outer tube 12 is formed from a non
provide a hose that can be readily coupled and uncoupled to 35 elastic , relatively soft, bendable , tubular webbing material.
a source of water such as a faucet on a house .                      The preferred materials used to form the non - elastic outer
  Other objects and advantages of this invention will                tube 12 are braided or woven nylon , polyester, or polypro
become apparent from the following description taken in              pylene. Other braided or woven materials can also be
conjunction with any accompanying drawings wherein are               employed to form the outer tube 12 . The requirements of the
set forth , by way of illustration and example , certain 40 outer tube 12 material are that it be soft, bendable , non
embodiments of this invention . Any drawings contained               elastic , and strong enough to withstand internal pressures of
herein constitute a part of this specification and include           up to 250 pounds per square inch , (psi).
exemplary embodiments of the present invention and illus                The hose 10 includes a female coupler 18 at a first end
trate various objects and features thereof.                          thereof and a male coupler 16 at a second end thereof. The
                                                                  45 male coupler 16 includes a threaded portion 20 , a mid
        BRIEF DESCRIPTION OF THE FIGURES                             portion 22 , and a portion 24 onto which are secured the inner
                                                                     tube 14 , the outer tube 12 , and an expansion restrictor sleeve
   FIG . 1 is a longitudinal side view of the present invention
                                                              26 . The inner tube 14 , the outer tube 12 , and the expansion
in a contracted position ;                                    restrictor sleeve 26 are secure to the male coupler as will be
  FIG . 2 is a cross section view of the present invention 50 described herein after.
taken along line 2 - 2 in FIG . 1 ;                                     The female coupler 18 includes a threaded portion 28 on
   FIG . 3 is a longitudinal view of the present invention in        the interior of the female coupler, FIGS. 1, 3 , and 8 . The
an expanded position ;                                               threaded portion 28 is constructed to receive the male
   FIG . 4 is a cross sectional view of the present invention        threads 20 and enable coupling of one hose to another. The
taken along line 4 - 4 in FIG . 3 ;                               55 threaded portion 28 is also constructed to couple to a faucet
     FIG . 5 is a cross sectional view , perspective view of a       or a water outlet on the exterior or interior of a house or
section of the hose of the present invention taken along line        residence . Most water faucets on homes or residences are
4 - 4 in FIG . 3 ;                                                   provided with a standard size male coupler or fitting. Most
     FIG . 6 is a cross sectional view , perspective view of a       conventional garden hoses or other hoses are provided with
section of the hose of the present invention taken along line 60 a standard size female coupler or fitting which will engage
2 -2 in FIG . 1 ;                                                    and couple the hose 10 to the faucet or water outlet. The
   FIG . 7 is a perspective view of a male coupler secured to        inner tube 14 , the outer tube 12 , and the expansion restrictor
an end of the hose of the present invention when the hose is    sleeve 27 are secure to the female coupler 18 as will be
in its extended condition , and                                 described herein after. In the preferred embodiment the
   FIG . 8 is a perspective view of a female coupler secured 65 female coupler 18 also includes a washer 29 which helps to
to an end of the hose of the present invention when the hose provide a fluid tight connection between the male and
is in its contracted condition .                                female couplers or any other male or female coupler .
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                                                        US 10 , 174 ,870 B2
                                                                                                         10
   During assembly, the non -elastic outer tube 12 is attached              For example, when the hose 10 of the present invention is
and connected to the inner tube 14 only at the first end and              utilized as a garden hose around a house, coupler 18 is
second end by the male coupler 16 and the female coupler                 secured to a faucet or water outlet on an exterior wall of the
18 , The outer tube 12 is unattached , unconnected , unbonded ,          house . The faucet is turned on or opened so that water under
and unsecured to the elastic inner tube 14 along the entire 5 pressure can now enter the hose 10. A relatively normal
length of the inner tube 14 , between the two couplers, and pressure       for water within a house is 60 psi. However, the
                                                                 pressure of water within a hose can vary widely , depending
thus the outer tube 12 is able to move freely with respect to on    a number of circumstances , such as , the pressure of water
the inner tube along the entire length of the inner tube 14 , supplied    by a water utility , the pressure of water supplied by
between the couplers , when the hose expands or contracts.
   The hose 10 of the present invention is illustrated in its supplied and
                                                           të 10 a pump         sustained by an air bladder, when water is
                                                                           from a well, etc . A nozzle or other distributor can
contracted condition in FIGS. 1 , 2 , 6 , and 8 . In this condi          be secured to male coupler 16 at the opposite end of hose .
tion , the elastic inner tube 14 is in a relaxed contracted           The nozzle can be a conventional nozzle which varies the
condition wherein there are no forces being applied to the           rate and spray pattern of water exiting from the nozzle .
inner tube 14 to expand or stretch it . Also , it should be noted 15 Many nozzles are L -shaped so as to be able to be comfort
that the outer tube 12 will not be in contact with the inner         ably gripped and used by an individual. These nozzles also
tube 14 when the hose is in this contracted condition . There             have a pivoting on -off handle which operates an internal
will be a space 15 between the inner tube 14 and the outer                valve . This internal valve permits, limits , and stops the flow
tube 12 (FIG . 6 ). As illustrated in FIG . 6 , the thickness of the      of water through the nozzle , to generate a build -up of liquid
wall of the inner tube 14 , in the contracted position , is 20 within the hose body between the two couplers .
relatively large compared to the thickness of the inner tube      The nozzle provides various amounts of restriction to the
14 , in the expanded position , FIG . 5 . The expansion of the liquid exiting at the end of the hose depending on how large
elastic inner tube 14 laterally , is the result of an increase in         the opening in the nozzle is . The smaller the opening in the
the pressure and volume of the liquid within the inner tube               nozzle , the more the nozzle restricts the release of liquid at
14 . This increase in pressurized liquid and volume in the 25 the end of the hose , and the higher the pressure and volume
inner tube 14 also results in the expansion of the length of              of liquid inside the hose . The larger the opening in the
the elastic inner tube 14 . The expansion of the inner tube 14 ,         nozzle , the less the nozzle restricts the release of liquid at the
both laterally and longitudinally , results in a decrease in the         end of the hose , and the lower the pressure and volume of
wall thickness of the inner tube , an increase in the diameter liquid inside the hose . The pressure coming from a typical
of the inner tube thus increasing the volume of liquid that 30 house is approximately 60 psi. If the flow of liquid at the
can flow through the inner tube 14 . This decrease in wall     other end of the present invention was totally restricted , the
thickness is clearly illustrated in FIG . 5 , wherein the inside          psi inside the inner tube would be the same as the pressure
diameter of the inner tube has been expanded and extended                 coming from the house , 60 psi. At this high pressure , the
because of an increase of the pressurized liquid and volume               inner tube 14 and the outer tube 12 in the present invention
within the inner tube 14 .                                             35 would expand to its maximum length of fifty feet . As the
   The outer tube 12 is preferably constructed of a non -                 liquid at the end of the hose is released , the pressure
elastic , soft tubular webbing . The webbing is made from a becomes reduced inside the hose and the hose contracts
strong braided or woven nylon , polyester, or polypropylene     slightly based on the decrease in internal pressure , but the
fabric or any other tubular braided of woven , non - elastic hose remains fully expanded in its operational state , distrib
fabric which can withstand an internal pressure of up to 250 40 uting water through its sprayer. The present invention will
psi. In the expanded or extended condition of the hose 10 of fully expand even when the pressure provided into the
the present invention , FIGS. 3 -5 , the inner tube 14 is                 female end is below the typical pressure of 60 psi coming
expanded or stretched . In this expanded condition the non -              from a house .
elastic outer tube 12 constrains the lateral expansion of inner        In one example , the water pressure coming from the house
tube 14 , as illustrated in FIGS . 3 and 5 . The outer tube 12 is 45 was 60 psi and the water pressure at the nozzle on the other
also taunt, smooth , and relatively flat along its length in this    end of the hose was 35 psi, from the fluid dynamics ofwater
extended condition, note FIGS . 3 and 5 . Since the outer tube flowing through an open but partially restricted hose. Even
12 is non - elastic, the length and width of the outer tube 12 with this pressure drop along the length of the hose 10 from
determines the length and width of the hose 10 in its                     60 psi to 35 psi, the pressure is enough to cause the inner
expanded condition . Thus, the diameter and length of the 50 tube 14 to expand laterally and longitudinally until its lateral
outer tube 12 determines the diameter and length of the hose and longitudinal expansion became constrained by the non
of the present invention upon the application of pressurized              elastic outer tube 12 and expanded to the maximum length
liquid to the interior of the elastic inner tube 14 . This                and width of the non - elastic outer tube 12 . In a preferred
diameter and length of the non - elastic outer tube is the final          embodiment, the hose 10 expands from ten feet in length in
diameter and the final length of the hose 10 when it is in its 55 its contracted condition to fifty feet in length in its expanded
expanded condition and in use to transport or deliver a                   condition .
liquid , such as water.                                                     FIGS . 7 and 8 illustrate how male and female couplers 16
   In a preferred embodiment of the present invention the                 and 18 respectively are secured to the hose of a preferred
hose 10 expands up to 4 to 6 times its contracted length        embodiment of the present invention . In FIG . 7 the male
during operation . Thus, a ten - foot hose in a contracted 60 coupler 16 includes a plurality of threads 20 . The male
condition would expand up to 40 to 60 feet when liquid          coupler 16 also includes a tubular extension 32 which
under pressure is supplied to the interior of the inner tube 14 extends into the interiors of the inner tube 14 , the outer tube
of the hose. The pressure within the hose is accomplished by              12 and the expansion restrictor sleeve 26 . The tubular
introducing liquid under pressure into one end of the hose                extension 32 has a hollow interior 34 through which fluids
and restricting the flow of the liquid out of the other end of 65 can flow . A securing device 34 encompasses the outer sleeve
the hose , resulting in the liquid filing up and expanding the            26 , the outer tube 12, and the inner tube 14 and secures these
inner tube 14 .                                                           elements to the tubular extension 34 . A separate flow restric
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                                                     US 10 ,174 ,870 B2
                                                                                                    12
tor 37 is illustrated within coupler 16 . Other types of flow           Another feature of the present invention is that the outer
restrictors , such as hose nozzles , sprayers, etc . can also be     tube 12 is reduced or decreased in length when there is no
employed . Anything that controls the release of the liquid pressure within inner tube 14 . With no pressure or volume
exiting the hose can be employed . As can be seen in FIG . 7 ,    in the elastic inner tube 14 the inner tube automatically
the outer tube 12 is relatively smooth , the inner tube wall is 5 contracts . The condition of the outer tube 12 when the inner
relatively thin , compared to its thicker contracted condition       tube 14 is in the contracted condition is illustrated in FIGS.
and the expansion restrictor sleeve 26 is restricting the tached1, 2 and 6 . Because the outer tube is unconnected , unat
                                                                        , unsecured , or unbonded to the inner tube along the
expansion of the inner and outer tubes at the junction of the entire length
securing device 34. Without the sleeve 26 , the inner tube                      of the hose between the first end and the second
                                                             10 end , the  soft
would immediately expand outwardly in a step function and freely with respect   fabric material of the outer tube 12 can move
probably rupture . The sleeve 26 permits the inner tube 14 to tube 12 can move freely   to the inner tube. The fact that the outer
gradually expand and taper outwardly, thus preventing rup along the entire length of with            respect to the inner tube 14
                                                                                               the hose 10 enables the outer tube
turing of the inner tube at this junction . Other types of 12 to become folded , compressed and gathered around the
connections , such as clamping and swaging can also be 15 outside of the circumference of the inner tube 14 along its
employed to secure the male coupler to the inner tube 14 , the       length in the contracted condition when there is not pres
outer tube 12 , and the sleeve 26 . By using other types of          surized liquid within the inner tube 14 . The flexibility of the
connections , an expansion restrictor sleeve may not be              outer tube 12 to become folded , compressed and gathered
needed .                                                             condition of the outer tube 12 helps prevent the hose 10 from
   FIG . 8 illustrates the female coupler 18 secured to the 20 kinking and also helps prevent it from becoming entangled
hose of the present invention . The hose in FIG . 8 is in the  upon itself. Thus , an empty hose 10 in the contracted
contracted condition . The female coupler 18 is provided condition is easily stored without worry of the hose kinking
with a plurality of internal threads 28 . The threads 28 are         or becoming entangled , as most conventional hoses do ,
designed to interact and cooperate with complementary    because the elastic inner tube and the outer tube are very
threads 20 on a male coupler to provide a fluid tight 25 flexible . This tendency of the hose 10 to not becomekinked
connection between the male and female couplers 16 and 18 .          or entangled enables a user to store the hose 10 in a very
The female coupler 18 also includes a tubular extension 36           small space with no worry of having to untangle or unkink
which extends into the interiors of the inner tube 14 , the          the hose when it is removed from storage and used . A user
outer tube 12 and the expansion restrictor sleeve 27 . The           of the present invention can take hose 10 from a stored
tubular extension 36 has a hollow interior 38 through which 30 condition , secure a nozzle or other flow restrictor on one end
fluids can flow . A securing device 40 encompasses the outer         of the hose , secure the hose 10 to a water faucet and turn on
sleeve 27, the outer tube 12 , and the inner tube 14 and             the water without the fear of the hose becoming entangled or
secures these elements to the tubular extension 36 . As can be       kinked or without the need to untangle or unkink the hose .
seen in FIG . 8 , the soft fabric outer tube 12 is not smooth ,        After they are used conventional garden hoses are nor
but folded , compressed and gathered around the circumfer - 35 mally carried or dragged back to their place of storage and
ence of the inner tube 14 , the inner tube 14 wall is relatively     they are stored on a reel or coiled up upon themselves and
thick , compared to its extended condition and the sleeve 27         laid on a flat surface . This requires time to carry and drag the
is not restricting expansion of the inner and outer tubes at the     hose and to properly store the hose and also requires an
junction of the securing device 40 . Without the sleeve 27 , the     expense to purchase the hose reel. The hose 10 of the present
inner tube 14 would immediately expand outwardly in a step 40 invention automatically and quickly contracts to its original
function and probably rupture upon the application of pres - place of storage and can then be easily folded up , rolled up ,
surized liquid to the interior of hose 10 . The sleeve 27 or coiled up and stored in any container, even very small
permits the inner tube 14 to gradually expand and taper containers , or on any surface , thus saving time and expense
outwardly , thus preventing rupturing of the inner tube at this for the owner of the hose .
junction . Other types of connections, such as clamping and 45 FIGS. 5 and 6 illustrate a preferred embodiment of the
swaging can also be employed to secure the female coupler            present invention . During the assembly of the hose in the
to the inner tube 14 , the outer tube 12 , and the sleeve 27 . By    preferred embodiment a ten - foot elastic inner tube 14 in its
using other types of connections, an expansion restrictor            relaxed or contracted condition is inserted into the hollow
sleeve may not be needed .                                       interior of a 50 - foot non - elastic outer tube 12 . The ten - foot
   Another feature of the present invention is the savings in 50 inner tube 14 and the 50 - foot outer tube 12 and the expan
weight of the hose . The hose 10 in its contracted condition    s ion restrictor sleeve 27 are then all attached and secured
is relatively light and after it is expanded up to 4 to 6 times,     together on a coupler at the first end . The ten - foot inner tube
the weight of the hose does not increase. Also , because the         is then stretched or expanded through the hollow interior of
hose does not contain any metal components such as springs,          the outer tube 12 until the elastic inner tube 14 is expanded
wire mesh or other metal parts along the entire length of the 55 to 5 times its relaxed or contracted length . Atthis point in the
hose between the male connector and the female connector             assembly process the expanded elastic inner tube 14 and the
a ten - foot contracted hose may only weigh less than 2              non - elastic outer tube 12 are both clamped down and the
pounds and in the expanded condition , (not counting the             inner tube 14 and the outer tube 12 are both 50 feet long. The
weight of the liquid inside the expanded hose ) the fifty - foot     inner tube 14 , and the outer tube 12 and the expansion
hose would also only weigh less than 2 pounds . In contrast 60 restrictor sleeve 27 are then attached and secured together to
however, a conventional rubber 1/2 inch ID 50 -foot hose             the coupler at the second end while the hose is still in the
could weigh up to 12 pounds. This savings in weight enables          expanded condition . As previously stated , the elastic inner
the hose of the present invention to be easily carried , easily      tube 14 and the non - elastic outer tube 12 are only attached
dragged , easily handled and easily used by anyone who uses          and secured together at the first end and the second end. The
the hose but especially by individuals who do not posses 65 inner tube 14 and the outer tube 12 are unattached ,
exceptional strength or do not want to drag , carry or lug unbonded , unconnected and unsecured along the entire
around heavy, bulky, conventional rubber hoses.             length of the hose between the first end and the second end
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                                                     US 10 , 174 , 870 B2
                              13                                                                   14
so as to allow the inner and outer tubes to move relative to         outside diameter (OD ) of the inner tube 14 is 0 . 375 . The
each other between the couplers . This allows the non -elastic       thickness of the wall of the inner tube 14 is 0 . 125 inches or
outer tube 12 to move freely with respect to the inner tube          0 .317 centimeters . The thickness of the outer tube 12 is
14 along the entire length of the hose between the couplers          0 .031 inches or 0 .079 centimeters.
on the first end and the second end .                                   The outer tube 12 is relatively smooth in the expanded
  When the clamp is removed at the second end from the               condition , as seen in FIGS. 3 and 5 . This smooth surface
expanded 50 - foot elastic inner tube 14 and the 50 foot             enables the hose 10 to be used and manipulated with relative
non -elastic outer tube 12 , the expanded elastic inner tube 14      ease. In addition , the expanded elastic inner tube 14 and the
automatically contracts within itself back to its original           smooth surface of the outer tube 12 prevents the hose from
relaxed length of ten feet. The length of the 50 - foot non - 10 kinking. Also , the smooth surface enables indicia to be
elastic outer tube 12 is also reduced to only ten feet in the placed on the outer surface . An example of this indicia is
contracted condition because when the stretched and              illustrated in FIG . 5 , the words "Magic Hose” . All types of
extended elastic inner tube 14 contracts from its expanded       indicia can be placed on the exterior of the outer tube 12 ,
length , the unattached , unbonded , unconnected and unse            such as letters , numbers, patterns, designs , and/or pictures.
cured soft fabric non -elastic outer tube 12 is contracted by 15 Any type of indicia that can be affixed to the outer tube 12
the couplers pulling together, as this happens , the outer       can be used . The indicia can be any color also including
fabric also catches on the rubbery elastic inner tube 14         black or white . The material from which the outer tube 12 is
material causing the outer tube 12 to become folded , com -          formed can also be any color .
pressed and gathered relatively evenly around the outside               The preferred embodiment of the present invention uti
circumference along the entire length of the contracted inner 20 lizes water to fill and expand the hose 10 . However , other
tube 14 , as opposed to bunching only at the far end of the          liquids can also be employed with the present invention , so
inner tube 14 . Thus , because the 50 -foot non - elastic outer      long as the liquids are not corrosive to the inner tube 14 . The
tube 12 hasmany folds that are compressed and gathered               temperatures of the liquids employed in the present inven
around the 10 - foot contracted and relaxed inner tube 14 , the tion are lower than temperatures which will alter the physi
folded , compressed and gathered 50 - foot outer tube 12 25 cal and chemical properties of the materials used in the hose
measures the same 10 - foot length as the 10 - foot contracted       of the present invention . Also , because the inner tube 14 is
inner tube 12 .                                                      elastic it can expand if the water within the tube freezes . For
   When a pressurized liquid is introduced into the elastic          example , if a garden hose of the present invention were left
inner tube 14 in the contracted and relaxed condition , the     outside in the winter , the water contained therein would
elastic inner tube 14 begins to expand laterally and longi - 30 freeze . Normal garden hoses would split , but the present
tudinally and the outer tube 12 begins to unfold and uncom           invention would expand when the water turns to ice because
presses around the circumference of the elastic inner tube           the inner tube is elastic .
14 . Consequently , when the inner tube 14 expands to its              All patents and publications mentioned in this specifica
maximum length of 50 feet, the outer tube 12 unfolds, and            tion are indicative of the levels of those skilled in the art to
uncompresses along the entire length of the inner tube 14 35 which the invention pertains. All patents and publications
until it reaches the same 50 - foot length as the inner tube 14      are herein incorporated by reference to the same extent as if
in the expanded condition . Also , because the inner tube 14         each individual publication was specifically and individually
expands both longitudinally and laterally and its expansion          indicated to be incorporated by reference .
is constrained by the non -elastic outer tube 12 , the inner tube       It is to be understood that while a certain form of the
14 fills all the available space inside the non - elastic outer 40 invention is illustrated , it is not to be limited to the specific
tube 12 and thus the surface of the unfolded , uncompressed        form or arrangement herein described and shown . It will be
outer tube 12 becomes smooth in the expanded condition as            apparent to those skilled in the art that various changes may
depicted in FIG . 5 .                                                be made without departing from the scope of the invention
   The hose in FIG . 5 is shown in its expanded condition            and the invention is not to be considered limited to what is
after a liquid under pressure has been introduced into the 45 shown and described in the specification and any drawings/
hose and the pressure and volumeof the liquid has increased          figures included herein .
inside the inner tube 14 . The expanded length of the hose 10          One skilled in the art will readily appreciate that the
is now 50 feet , 600 inches, or 15 . 24 meters . The volume of       present invention is well adapted to carry out the objectives
fluid within the hose 10 is 0 . 943 gallons, 120 ounces , 3 .569     and obtain the ends and advantages mentioned, as well as
liters, or 3180 .64 cubic centimeters . The outer circumfer - 50 those inherent therein . The embodiments , methods, proce
ence of the hose 10 is 2 . 12 inches or 5 . 39 centimeters. The      dures and techniques described herein are presently repre
diameter of the outer tube 12 is 0 .68 inches or 1. 73 centi-        sentative of the preferred embodiments, are intended to be
meters . The diameter of the inner tube 14 is 0 .64 inches or        exemplary and are not intended as limitations on the scope .
1.63 centimeters . The thickness of the wall of the inner tube       Changes therein and other uses will occur to those skilled in
14 is 0 .031 inches or 0 .079 centimeters. The thickness of the 55 the art which are encompassed within the spirit of the
outer tube 12 is 0 .031 inches or 0 .079 centimeters . The           invention and are defined by the scope of the appended
thickness of the outer tube 12 remains the same in both the          claims. Although the invention has been described in con
expanded and contracted conditions . The material from               nection with specific preferred embodiments, it should be
which the inner tube 14 is formed can be any color. The hose        understood that the invention as claimed should not be
in FIG . 6 is in its contracted condition and its dimensions are 60 unduly limited to such specific embodiments . Indeed , vari
as follows. The length of the hose is 10 feet, 3 . 33 yards, or      ous modifications of the described modes for carrying out
3 .05 meters . The volume of liquid within the hose 10 is            the invention which are obvious to those skilled in the art are
0 .025 gallons , 3 .2 ounces , 0 .094 liters, or 94 .635 cubic       intended to be within the scope of the following claims.
centimeters. The outer circumference of the hose 10 is 2               What is claimed is :
inches or 5 .08 centimeters . The diameter of the outer tube 12 65      1 . A hose comprising:
is 0 .4 inches or 1. 02 centimeters . The inside diameter (ID )         a flexible elongated outer tube constructed from a fabric
of the inner tube 14 is, 0 . 25 inches or 0 .635 centimeters . The        material having a first end and a second end , an interior
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                                                       US 10 , 174 ,870 B2
                                                                                                      16
     of said outer tube being substantially hollow , said                   9. Thehose of claim 8 wherein said indicia is recognizable
         flexible elongated outer tube having a maximal length           when said hose is in said extended condition and said indicia
     and a maximal diameter ;                                            is not recognizable when said hose is in said retracted
   a flexible elongated inner tube having a first end and a              condition .
         second end, an interior of said inner tube being sub - 5           10 . The hose of claim 1 wherein said flow restrictor is
         stantially hollow , said inner tube being formed of an 11
         elastic material, said elastic inner tube having a relaxed    11. The hose of claim 1 wherein said flow restrictor is a
         length when said inner tube is not being stretched , said nozzle   which is removeably secured to said hose .
                                                                    no 12 . The hose of claim 7 wherein said first and second
         inner tube relaxed length being substantially less than 10 securing devices  extend around an outer circumference of
     said outer tube maximal length ;                                    said hose .
   a first coupler secured to said first end of said inner and             13 . The hose of claim 1 wherein said hose is a garden
     said outer tubes , said first coupler constructed to couple         hose .
      said hose to a source of pressurized liquid ;                  14 . The hose of claim 1 wherein said hose is a fire hose
   a second coupler secured to said second end of said
                                                    said inner
                                                         inner 15 used by firefighters.
         and said outer tubes , said inner and outer tubes unse             15 . The hose of claim 1 wherein said inner tube and said
     cured between said first and second ends so that said outer tube are made from flexible materials which will not
     outer tube is not held in frictional contact with said kink when said inner and said outer tubes are in their
     inner tube so that said outer tube can move freely along contracted condition .
     said inner tube ; and                                      2016 . A method of transporting a liquid comprising :
  a flow restrictor coupled to said second coupler,                forming an expanding hose, said expanding hose includ
  whereby upon introduction of a flow of pressurized liquid          ing a non -elastic , bendable elongated outer tube having
     through said first coupler into said inner tube and             a first end and a second end , an interior of said outer
     operation of said flow restrictor to at least partially         tube being substantially hollow , said expanding hose
    block said flow of pressurized liquid from exiting said 25       including an expandable , elastic elongated inner tube
     inner tube , said inner tube fills with pressurized liquid      having a first end and a second end , an interior of said
    resulting in an increase in fluid pressure within said           inner tube being substantially hollow , said elastic inner
         inner tube interior, said increase in fluid pressure                 tube positioned within said substantially hollow outer
         expands said inner tube longitudinally along a length of            tube;
         said inner tube and laterally across a width of said inner 30     securing a first coupler to said first end of said inner and
         tube thereby increasing said hose to an expanded                     said outer tubes;
         condition , and whereby stopping said flow of pressur             securing a second coupler to said second end of said inner
         ized liquid into said first coupler and releasing said               and said outer tubes, said inner and said outer tubes
         pressurized liquid out of said second coupler results in             being secured to each other only at said first and said
         said hose contracting to a decreased length as a result 35           second ends and unsecured to each other between said
      of the automatic contraction of the elastic inner tube .                first and said second ends ;
   2 . The hose of claim 1 wherein said outer tube is made                 connecting said first coupler to a source of pressurized
from a material which will not stretch longitudinally or                     fluid ;
laterally when a force is applied to an interior of said outer             connecting said second coupler to a fluid flow restrictor ;
tube .                                                              40      introducing a flow of pressurized liquid into said expand
   3 . The hose of claim 2 wherein said outer tube is made                    ing hose through said first coupler ;
from a material selected from the group consisting of nylon ,            restricting said flow of pressurized liquid exiting the expand
polyester , or polypropylene .                                           ing hose, resulting in an increase in fluid pressure within said
   4 . The hose of claim 1 wherein said inner tube is made        expanding hose between said first and second couplers
from an elastic material with an elongation ratio of up to six 45 causing said inner tube to expand longitudinally along a
to one and which can expand up to six times its contracted               length of said inner tube and laterally across a width of said
or unexpanded length .                                                   inner tube thereby increasing a length and width of said hose
   5 . The hose of claim 1 including a first restrictor sleeve           to an extended condition ; and
secured to said first end of said inner and said outer tubes,              automatically contracting said expanding hose to a
and a second restrictor sleeve secured to said second end of 50              decreased length and width by removing said flow of
said inner and said outer tubes ,                                             pressurized liquid into said expanding hose and remov
  whereby said first and second restrictor sleeves provide a                  ing the increase in fluid pressure within said expanding
    gradual transition of the laterally outward expansion of                  hose between said first coupler and said second coupler,
    said inner tube when there is an increase in pressurized    whereby said inner tube moves freely with respect to said
    liquid within said inner tube interior between said first 55    outer tube when there is no fluid pressure differential
       coupler and said second coupler.                            between said first coupler and said second coupler.
   6 . The hose of claim 1 wherein said inner tube and said      17 . Themethod of transporting a fluid of claim 16 wherein
outer tube are made from flexible materials which will not    said elastic inner tube is elongated up to six times its
kink or become entangled upon itself when said inner and      contracted or unexpanded length .
said outer tubes are in their expanded condition .          60 18 . The method of transporting a fluid of claim 16
    7. The hose of claim 5 including a first securing device including securing a first expansion restrictor sleeve to said
securing said first restrictor sleeve , said outer tube, and saidfirst end of said inner and said outer tubes ;
inner tube to said first coupler, and a second securing device      securing a second expansion restrictor sleeve to said
securing said another expansion restrictor sleeve , said outer         second end of said inner and said outer tubes ;
tube and said inner tube to said second coupler.               65 whereby when said increase in fluid pressure expands said
   8 . The hose of claim 1 including indicia on said outer                    inner tube, said first and second expansion restrictor
tube.                                                                         sleeves restrain the expansion of said inner and said
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                                                   US 10 , 174 , 870 B2
                             17
      outer tubes and prevent said inner tube from increasing
      in diameter as a step function .
   19 . The method of transporting a fluid of claim 16
including providing indicia on said outer tube and expanding
said outer tube longitudinally along a length of said outer 5
tube until said indicia is recognizable .
   20 . Themethod of transporting a fluid of claim 16 wherein
said outer tube constrains the lateral or radial expansion and
the longitudinal expansion of said inner tube upon an
increase of said fluid pressure between said first coupler and 10
said second coupler within said hose .
